Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 1 of 32 PageID #:
                                    1084
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 2 of 32 PageID #:
                                    1085
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 3 of 32 PageID #:
                                    1086
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 4 of 32 PageID #:
                                    1087
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 5 of 32 PageID #:
                                    1088
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 6 of 32 PageID #:
                                    1089
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 7 of 32 PageID #:
                                    1090
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 8 of 32 PageID #:
                                    1091
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 9 of 32 PageID #:
                                    1092
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 10 of 32 PageID #:
                                    1093
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 11 of 32 PageID #:
                                    1094
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 12 of 32 PageID #:
                                    1095
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 13 of 32 PageID #:
                                    1096
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 14 of 32 PageID #:
                                    1097
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 15 of 32 PageID #:
                                    1098
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 16 of 32 PageID #:
                                    1099
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 17 of 32 PageID #:
                                    1100
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 18 of 32 PageID #:
                                    1101
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 19 of 32 PageID #:
                                    1102
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 20 of 32 PageID #:
                                    1103
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 21 of 32 PageID #:
                                    1104
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 22 of 32 PageID #:
                                    1105
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 23 of 32 PageID #:
                                    1106
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 24 of 32 PageID #:
                                    1107
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 25 of 32 PageID #:
                                    1108
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 26 of 32 PageID #:
                                    1109
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 27 of 32 PageID #:
                                    1110
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 28 of 32 PageID #:
                                    1111
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 29 of 32 PageID #:
                                    1112
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 30 of 32 PageID #:
                                    1113
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 31 of 32 PageID #:
                                    1114
Case 5:20-cv-00190-JPB-JPM Document 137-7 Filed 03/22/22 Page 32 of 32 PageID #:
                                    1115
